
435 F.Supp.2d 1340 (2006)
In re AIR CRASH NEAR ATHENS, GREECE, ON AUGUST 14, 2005
George Evripidou, et al.
v.
The Boeing Co., et al., C.D. California, C.A. No. 2:06-783
Sophia Neophytou, et al.
v.
The Boeing Co., N.D. Illinois, C.A. No. 1:06-927
Alexandra Laou, et al.
v.
The Boeing Co., N.D. Illinois, C.A. No. 1:06-994
No. MDL-1773.
Judicial Panel on Multidistrict Litigation.
June 16, 2006.
*1341 Before WM. TERRELL HODGES, Chairman, JOHN F. KEENAN, D. LOWELL JENSEN, J. FREDERICK MOTZ, ROBERT L. MILLER, Jr., KATHRYN H. VRATIL and DAVID R. HANSEN, Judges of the Panel.

TRANSFER ORDER
WM. TERRELL HODGES, Chairman.
This litigation currently consists of two actions in the Northern District of Illinois and an action in the Central District of California.[1] Before the Panel is a motion, pursuant to 28 U.S.C. § 1407, brought by plaintiffs in the Northern District of Illinois actions for coordinated or consolidated pretrial proceedings of these actions in the Northern District of Illinois or, alternatively, the Western District of Washington. At oral argument, moving plaintiffs stated that they also support selection of the Eastern District of Pennsylvania as a transferee forum. All responding parties support centralization. Common defendant The Boeing Co. (Boeing) prefers transfer to the Central District of California. Plaintiffs in the Northern District of Illinois potential tag-along action support transfer to the Northern District of Illinois or, alternatively, the Western District of Washington, while plaintiffs in the Eastern District of Pennsylvania potential tag-along action support transfer to the Eastern District of Pennsylvania.
On the basis of the papers filed and hearing session held, the Panel finds that these three actions involve common questions of fact, and that centralization under Section 1407 in the Northern District of Illinois will serve the convenience of the parties and witnesses and promote the just and efficient conduct of this litigation. All actions concern the cause or causes of the crash of an airplane near Athens, Greece, on August 14, 2005. Centralization under Section 1407 is necessary in order to eliminate duplicative discovery, prevent inconsistent pretrial rulings, and conserve the *1342 resources of the parties, their counsel and the judiciary.
We are persuaded that the Northern District of Illinois is an appropriate transferee forum for this docket. This district contains a majority of the actions in this litigation. Furthermore, relevant discovery may be found within this district, since Boeing is headquartered there.
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the action pending outside the Northern District of Illinois is transferred to the Northern District of Illinois and, with the consent of that court, assigned to the Honorable George W. Lindberg for coordinated or consolidated pretrial proceedings with the actions pending in that district.
NOTES
[1]  The Panel has been notified of two additional actions pending, respectively, in the Northern District of Illinois and the Eastern District of Pennsylvania. These actions and any other related actions will be treated as potential tag-along actions. See Rules 7.4 and 7.5, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001).

